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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT



NICOLE STACY,

               Plaintiff,                                    Case No.: 3:17-cv-00871

       vs.
                                                             NOTICE OF VOLUNTARY
                                                             DISMISSAL
EXPERIAN INFORMATION SOLUTIONS,
INC. AND CAC FINANCIAL CORP,

               Defendants.


       COMES NOW Plaintiff NICOLE STACY, by and through her attorney of record, Peter
M. Van Dyke, Esq., hereby notifies the Court that pursuant to Federal Rule of Civil Procedure
41(a)(1)(A)(i), Plaintiff requests this Court dismiss the action with prejudice as to both Experian
Information Services, Inc. and CAC Financial Corp., all parties to bear own costs.



Date: October 30, 2017                            By: s/ Peter M. Van Dyke                  .
                                                     Attorney for Plaintiff
                                                     Peter M. Van Dyke
                                                     Eagan, Donohue, Van Dyke & Falsey, LLP
                                                     24 Arapahoe Road
                                                     West Hartford, CT 06107
                                                     Telephone: 860-232-7200
                                                     Email: pvd@eddf-law.com




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